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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

RANDY AVILES,                              §
                                           §
         Plaintiff,                        §      Civil Action No. 4:22-cv-03571
                                           §
v.                                         §
                                           §
RIGOBERTO SALDIVAR & CITY                  §
OF PASADENA, TEXAS,                        §
                                           §
                                           §
         Defendants.

                      DEFENDANT CITY OF PASADENA’S
                      MOTION FOR SUMMARY JUDGMENT

        For the following reasons, Defendant City of Pasadena, Texas, (hereafter

City) moves the Court, under FED. R. CIV. P. 56, for summary judgment in favor

of the City.

                          CERTIFICATE OF CONFERENCE

1.      The parties’ counsel conferred on May 9, 2024. Plaintiff opposes the relief

sought in this dispositive motion.
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                 NATURE AND STAGE OF THE PROCEEDING

2.      Plaintiff filed suit. [Doc. 1]. The City filed a motion to dismiss. [Doc. 7-

10]. The Court entered an Order denying the City’s motion to dismiss. [Doc.

30]. City answered and asserted defenses. [Doc. 32]. Discovery has closed and

City timely moves for summary judgment. [Doc. 33].

                                         ISSUE

3.      If Plaintiff has shown the admitted summary judgment evidence raises

a genuinely disputed material fact regarding whether the City violated

Plaintiff’s constitutional rights under either theory of liability Plaintiff has

alleged.

                          SUMMARY OF THE ARGUMENT

4.      The only evidence the Court need analyze to find the City is entitled to

summary judgment are exhibits 1, 8, 18. In an abundance of caution, however,

the City presents the Court with all the evidence implicated by Plaintiff’s

insupportable allegations. Exhibits 1 and 18 provide evidence which shows the

City has no unconstitutional policy, the City’s policymaker is not deliberately

indifferent, and that the City did not violate the Plaintiff’s rights. The

recording identified as Exhibit 8 disproves the Plaintiff’s allegations that

Police Chief Bruegger erred in not disciplining Officer Saldivar based on the

Schenk shooting. Those exhibits show the City is entitled to summary

judgment. The other exhibits merely solidify that result.


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                          SUMMARY OF THE EVIDENCE

                              Ramirez and Schenk

5.       The City hired Rigoberto Saldivar as a police cadet on March 2, 1998,

and promoted him to Probationary police officer on August 17, 1998. Twenty

years later, on April 16, 2018, Officer Saldivar shot at Angel Ramirez while

Ramirez held a handgun in his hand. The gunshots did not strike Ramirez.

[Ex. 14; 18, ¶ 19; 29; 31; 36]. On November 21, 2018, Officer Saldivar fatally

shot Nathan Schenk, during a physical struggle after Officer Saldivar chased

Mr. Schenk who fled the initial traffic stop scene on foot. [Exs. 2, ¶ 8; 9; 12, ¶

21; 18 ¶ 23]. City detectives and investigators of the Harris County District

Attorney’s Office investigated both events. [Exs. 18, ¶ 24; 36; 37]. A Grand Jury

did not initiate any prosecution against Officer Saldivar based upon these

events. [Ex. 11].

6.       In addition to the criminal investigations, a police department internal

affairs investigator performed administrative investigations of both events and

police department supervisors, administrators, and the police chief evaluated

the administrative investigation to determine whether disciplinary action

against Officer Saldivar was appropriate. [Exs. 1, ¶ 4; 7, ¶ 21; 18, ¶¶ 27, 89;

25, p. 33 LL 22-25].

7.       The Ramirez recording proved Officer Saldivar fired at Ramirez after

Officer Saldivar shined a light that illuminated a pistol in Ramirez’s hand.

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[Exs. 29; 31; 34; 36 p.4 ¶ 3]. Recordings exist that depicted portions of the

Schenk incident, where not all aspects of the events were clearly visible, and

Officer Saldivar’s account established sufficient basis to determine the use of

force justified. [Exs. 1 ¶ 37; 3, p. 69, LL 14-21; 28; 40].

8.       The lead CID Detective investigating the Schenk shooting developed an

opinion, based on his interpretations of the bodycam video, that Officer

Saldivar shot Schenk while he was crawling on the ground away from Officer

Saldivar. [Exs. 24, p. 63, LL 6-17; 34; 37]. The Detective and a Sergeant,

concurring with the opinion, reported verbally to the police department

internal affairs investigator and police department administrators, including

City police chief Joshua Bruegger. The Detective documented his conclusions

in a written report. [Exs. 24, p. 79, LL 11-17].

9.       The internal affairs investigator and police administrators, including

Chief Bruegger, studied the same recording on which the two Detectives based

their opinions, but did not conclude the recording demonstrated Officer

Saldivar shot Schenk while he was crawling away. [Exs. 1 ¶ 41; 5, p. 32, LL 5-

13; 6, p. 66, LL 14-17; 14; 37 p. 28, ¶ 3]. The internal affairs investigator and

administrators, including Chief Bruegger, further concluded the objective

evidence, which included gunshot residue test results and a wound in Schenk

that he could not have sustained being shot while crawling away, disproved



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the Detectives interpretations of the practically black recording. [Exs. 1 ¶ 46;

8; 10].

10.   Pasadena police administrators, including the police chief, and the

Harris County District Attorney’s office reviewed the Ramirez incident, with

the Harris County grand jury also reviewing the Schenk case. Investigations

and recordings concluded that neither investigation supported a finding that

Officer Saldivar violated the police departments facially constitutional written

policies prohibiting officers from using excessive force. [Exs. 1, ¶ 4; 4, pp. 28-

29, LL 15-25, 1-5; 15; 16; 18, ¶ 21, 100; 37].

                                      Aviles

11.   On January 12, 2021, Officer Saldivar shot Plaintiff Randy Aviles while

he drove away from a traffic stop. [Exs. 18, ¶ 37; 19 p. 3268, ¶ 3; 22; 24; 20; 30].

City detectives and investigators of the Harris County District Attorney’s

Office investigated this event. [Exs. 1, ¶ 4; 18, ¶ 38; 23. p. 9, LL 16-25; 27, p.

10, LL 23-25; 26, p. 32, LL 1-4].

12.   Chief Bruegger was informed of the Aviles shooting within an hour of it

occurring. [Ex. 32, p. 186, LL 17-22]. The following morning, Chief Bruegger

reviewed recordings of the events. Chief Bruegger reviewed recordings of every

officer-involved shooting that occurred during his tenure as police chief. When

Chief Bruegger saw the Aviles recordings, the Chief had concerns about Officer

Saldivar firing into a vehicle that was driving away. Chief Bruegger, in

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accordance with city ordinance, prepared a memorandum informing then-

Officer Saldivar he was placed on administrative leave. Because of his concerns

about the propriety of Officer Saldivar’s action in the Aviles shooting, Chief

Bruegger never returned Officer Saldivar to Pasadena police duties after he

shot Aviles. [Ex. 1, ¶ 2; 13 p. 11, §30-3].

13.   Chief Bruegger assigned Officer Saldivar to perform civilian employee

functions in the police department property room while awaiting a Grand Jury

review of the Aviles shooting. Before the Grand Jury considered the Aviles

shooting, Officer Saldivar retired from the Pasadena police department. After

he retired, a Harris County Grand Jury initiated a criminal prosecution

against Officer Saldivar based upon the Aviles event. [Exs. 1, ¶ 3; 21].

                            STANDARD OF REVIEW

14.   Substantive law identifies material facts and only disputes over facts

that might affect the outcome of the suit under governing law preclude

summary judgment. Anderson v. Liberty Lobby, 477 U.S. 242, 247-248 (1986).

The movant bears the initial burden of identifying the basis for its motion and

identifying evidence that demonstrates the absence of a genuine issue of

material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1996). The

movant need not negate elements of non-movant's case. See Wallace v. Tex.

Tech Univ., 80 F.3d 1042, 1047 (5th Cir. 1996) (citing Little v. Liquid Air Corp.,

37 F.3d 1069, 1075 (5th Cir. 1994)).

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15.   Movant may identify the non-movant has no evidence to support an

essential element of the claim. Celotex, 477 U.S. at 323. In opposition to a

motion for summary judgment, the non-moving party must identify facts,

based upon admissible evidence, showing an issue for trial. See Anderson, 477

U.S. at 250.

16.   While evidence is viewed in the light most favorable to the opposing

party and justifiable inferences are drawn in her favor, “only reasonable

inferences can be drawn from the evidence in favor of the non-moving party.”

Eastman Kodak Co. v. Imagetech Servs., 504 U.S. 451, 469 n. 14 (1992). Factual

controversies are resolved in favor of the non-movant “only when there is an

actual controversy—that is, when both parties have submitted evidence of

contradictory facts.” Olabisiomotosho v. City of Houston, 185 F.3d 521, 525 (5th

Cir. 1999).

17.   When opposing parties tell two different stories, one of which is blatantly

contradicted by the record, so that no reasonable jury could believe it, a court

should not adopt that version of the facts for purposes of ruling on a motion for

summary judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007). “Although we

review the evidence in the light most favorable to the non-moving party, we

assign greater weight, even at the summary judgment stage, to the facts

evident from video recordings taken at the scene.” Carnaby v. City of Houston,

636 F.3d 183, 187 (5th Cir. 2011) (citing Scott, 550 U.S. at 381). “A court …

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need not rely on the plaintiff’s description of the facts where the record

discredits that description but should instead consider the facts in the light

depicted by the videotape.” Id.

                          ARGUMENT AND AUTHORITIES

I.       There is no evidence the City failed to discipline, train, or
         supervise Officer Saldivar.

18.      “[U]nder § 1983, local governments are responsible only for ‘their own

illegal acts.’” Connick v. Thompson, 560 U.S. 51, 60 (2011). The Constitution

provides protections from a government causing a deprivation, but the

Constitution does not require a governmental entity to enact a transcendent

policy preventing violations. See Roberts v. City of Shreveport, 397 F.3d 287,

293 (5th Cir. 2005); Pineda v. City of Houston, 291 F.3d 325, 333 (5th Cir.

2002). When “a plaintiff seeking to establish [governmental] liability on the

theory that a facially lawful [governmental] action has led an employee to

violate a plaintiff's rights must demonstrate the municipal action was taken

with ‘deliberate indifference’ as to its known or obvious consequences.” Board

of the County Commissioners of Bryan County Oklahoma v. Brown, 520 U.S.

397, 407 (1997). “Under the deliberate indifference framework, a party must

prove there’s a ‘causal link’ between the policy and their harm, and that the

defendant had the ‘requisite degree of culpability.’” Liggins v. Duncanville, 52

F.4th 953, 955 (5th Cir. 2022) (quoting Brown, 520 U.S. at 404). “Culpability,


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in this context, is a complete disregard of ‘the risk that a violation of a

particular constitutional … right [would] follow the decision.’” Liggins supra

(quoting Brown, 520 U.S. at 411)). “That’s a ‘high standard.’” Id. (quoting Valle

v. City of Houston, 613 F.3d 536, 542 (5th Cir. 2010)). Plaintiffs have not

identified evidence of an unlawful policy of failing to discipline, train, or

supervise Officer Saldivar for which the City’s policymaker is liable. Piotrowski

v. City of Houston, 237 F.3d 567, 578-81 (5th Cir. 2001).

      A.    The City trained Officer Saldivar.

19.   The Texas Commission on Law Enforcement (TCOLE) transcript proves

Officer Saldivar had extensive training. [Ex. 17]. Additionally, law

enforcement administrator expert, Marlin Price, provided uncontroverted

testimony regarding Officer Saldivar’s extensive training. [Ex. 18, ¶¶ 18, 32-

34, 49-56, 90]. A constitutionally adequate training program only must “enable

officers to respond properly to the usual and recurring situations with which

they must deal.” Benavides v. County of Wilson, 955 F.2d 968, 973 (5th Cir.

1992). In evaluating the sufficiency of allegations to show such a claim, “the

focus must be on the adequacy of the training program in relation to the tasks

the particular officers must perform.” Snyder v. Trepagnier, 142 F.3d 791, 798

(5th Cir. 1998). To support a claim “based on an ‘inadequate training’ claim, a

plaintiff must allege with specificity how a particular training program is

deficient.” Roberts, 397 F.3d at 293. “In this inquiry, mere proof that the injury

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could have been prevented if the officer had received better or additional

training cannot, without more, support liability.” Id.

      Neither will it suffice to prove than an injury or accident could
      have been avoided if an officer had had better or more training,
      sufficient to equip him to avoid the particular injury-causing
      conduct. Such a claim could be made about almost any encounter
      resulting in injury, yet not condemn the adequacy of the program
      to enable officers to respond properly to the usual and recurring
      situations with which they must deal. And plainly, adequately
      trained officers occasionally make mistakes; the fact that they do
      says little about the training program or the legal basis for holding
      the city liable.

Pineda, 291 F.3d at 333.

20.   Also, the Court may properly take judicial notice of statutes in Chapter

1701 of the Texas Occupations Code which demonstrate that the State of Texas

has delegated TCOLE as the agency in Texas responsible for identifying and

establishing peace officer training and licensing standards that are sufficient

to prepare Texas peace officers to perform the duties entrusted to them. This

legislative mandate specifically designates TCOLE as the State agency

responsible for establishing a statewide comprehensive education and training

program for peace officers to qualify to obtain a peace officer license. Chapters

1701 of the Texas Occupations Code mandates TCOLE training curriculum

specifically includes training regarding Fourth Amendment issues.

21.   Specifically, TEX. OCC. CODE § 1701.251 provides that TCOLE "shall

establish and maintain training programs for officers." Section 1701.253


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further requires that TCOLE "shall establish a statewide comprehensive

education and training program on civil rights…" and which "covers the laws

of [the state of Texas] and of the United States pertaining to peace officers" for

all licensed law enforcement officers in Texas. Section 1701.352(d) additionally

requires that, within 24 months of appointment as a supervisor, all law

enforcement officer supervisors receive training regarding supervising police

officers. Sections 1701.307 and 1701.351 provide that, to obtain and maintain,

a peace officer license, an officer must satisfactorily meet all TCOLE training

and licensing standards.

22.   No federal court has held TCOLE training standards fail to meet

minimum constitutional requirements and several courts have held otherwise.

Compare, Zarnow, 614 F.3d 171; Martinez v. Maverick County, 507 Fed. Appx.

446, 448-49 (5th Cir.), cert. denied, 2013 U.S. LEXIS 4806 (2013); O’Neal v.

City of San Antonio, 344 Fed. Appx. 885, 888-89 (5th Cir. 2009); Roberts, 397

F.3d at 293; Pineda, 291 F.3d at 334; Conner v. Travis County, 209 F.3d 794,

798 (5th Cir. 2000); Baker v. Putnal, 75 F.3d 190, 199-200 (5th Cir. 1996);

Benavides, 955 F.2d at 973.

23.   Moreover, the evidence disproves the assertion Officer Saldivar received

“no training whatsoever,” which is needed to support a claim based on alleged

constitutionally deficient police training policy. See Peña v. City of Rio Grande,

879 F3d 613, 624 (5th Cir. 2018).

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      B.     The City supervised Officer Saldivar.

24.   Of the three ways to show an “official policy” under Section 1983,

Plaintiff   narrowed   his   claims   to    number   three,   that    under   “rare

circumstances,” a single act can be considered a policy if done by an official or

entity with “final policymaking authority.” Webb v. Town of Saint Joseph, 925

F.3d 209, 214-15 (5th Cir. 2019) (citations and quotations omitted).

25.   But Plaintiffs’ failure to supervise claim fails because the City did

provide supervision to Officer Saldivar, not no supervision whatsoever. See

Brown v. Bryan County, 219 F.3d 450, 462-63 (5th Cir. 2000).

26.   Moreover, the City provided more that merely some supervision to

Officer Saldivar. [Ex. 18, ¶¶ 57, 107]. Officer Saldivar received written

evaluations from his supervisors. [Ex. 18, ¶ 57]. The police department has a

Supervisory Intervention Program that allows supervisors to administratively

correct officer behavior as necessary to improve performance as well as lower

levels of administrative discipline such as written reprimands. [Ex. 18, ¶ 58].

The Department also began using Use of Force audits in 2019 to better track

use of force and identify trends and issues for future training. [Ex. 18, ¶ 55].

Also, the uncontroverted evidence that the Department conducted extensive

investigations of each of the three instances in which Officer Saldivar fired a

shot refutes the allegation the City did not supervise Officer Saldivar.



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27.   And Pasadena operates under Texas police civil service laws that

provides for police supervision at various ranks withing the Department. [Ex.

1, ¶¶ 16, 18-19, 31-33; 18, ¶ 94]. This is complimented with the supervision

training that TCOLE requires throughout Texas. See TEX. OCC. CODE §

1701.352(d). The City supervised Officer Saldivar.

      C.    Disciplinary action against Officer Saldivar was not
            defensible under Texas law before Officer Saldivar shot
            Aviles.

28.   Disciplinary action against Officer Saldivar was not defensible under

Texas law. The record contains extensive evidence regarding operation of

Texas police civil service laws that dictate the scope of disciplinary policy for

City police officers, including Officer Saldivar. In order to defend subjecting

Officer Saldivar to disciplinary action, the City must have sufficient evidence

to prove Officer Saldivar violated a civil service rule. [Ex. 33]. The Summary

of the Evidence section of this motion shows that the facts that existed before

Officer Saldivar shot Aviles did not support disciplinary action against Officer

Saldivar. The only basis for criticizing Officer Saldivar’s decision to shoot

Schenk rested upon the footing of a recording of darkness that does not

distinctly depict anything. [Ex. 8].

29.   The Court has the Schenk recording in the record and no doubt will make

its independent assessment of the discernability of the content of the recording.

And regardless of the creative interpretations of the two Detectives who claim

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to be capable of seeing Officer Saldivar shoot Schenk as he crawls away, no

reasonable jury who views the recording that interpretation is based on could

reasonably accept the Detectives testimony in that regard. See Scott, 550 U.S.

at 381; Garcia v. Orta, 47 F.4th 343, 349-53 (5th Cir. 2022); Curran v. Aleshire, 800 F.3d

656, 66364 (5th Cir. 2015); Orr v. Copeland, 844 F.3d 484, 490-91 (5th Cir. 2016);

Carnaby, 636 F.3d at 187. Particularly, when the objective evidence, which

included gunshot residue test results and a wound Schenk sustained could not

resulted from being shot while crawling away.

      D.     Disciplinary action against Officer Saldivar was not
             appropriate under Texas law, or required under the
             Constitution, after Officer Saldivar shot Aviles.

30.   After Officer Saldivar shot Aviles, disciplinary action against Officer

Saldivar was not appropriate under Texas law and not required under the

Constitution. The morning after Officer Saldivar shot Aviles, Chief Bruegger

reviewed recordings that depicted the Aviles shooting. When Chief Bruegger

saw the Aviles recordings, the Chief prepared a memorandum relieving then-

Officer Saldivar from performing police duties and Officer Saldivar never

against performed a police duty in the months thereafter while he remained in

the City’s employ awaiting review of the shooting by a Harris County Grand

Jury. [Ex. 1, ¶ 2].

31.   Before the Grand Jury considered the Aviles shooting, Officer Saldivar

retired from the Pasadena police department. After he retired, a Harris County

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Grand Jury initiated a criminal prosecution against Officer Saldivar based

upon the Aviles event. By the time the Grand Jury charged Officer Saldivar

with committing a crime by shooting Aviles, the City could no longer initiate

discipline against Officer Saldivar because he had retired from the City’s

employ. [Ex. 1, ¶ 3, 8].

32.   Chief Bruegger and Expert Price well-explained the reasons it was not

appropriate or required under the Constitution to prematurely initiate

disciplinary action against Officer Saldivar after he was prohibited from

performing police duties. [Ex. 1, ¶¶ 4, 40; 18, ¶¶ 43-48, 78-80; 32, pp. 200-202,

205-206, p. 210, l. 18-p. 211, l. 22].

      E.     There is no evidence             the   City’s    policymaker      was
             deliberately indifferent.

33.   “Claims not involving an allegation that the municipal action itself

violated federal law, or directed or authorized the deprivation of federal rights,

present much more difficult problems of proof.” Bryan County, 520 U.S. at 406.

“[A] plaintiff seeking to establish municipal liability on the theory that a

facially lawful municipal action has led an employee to violate a plaintiff’s

rights must demonstrate that the municipal action was taken with ‘deliberate

indifference’ as to its known or obvious consequences.” Bryan County, 520 U.S.

at 407 (quoting Canton v. Harris, 489 U.S. 378, 388 (1989)). “A showing of

simple or even heightened negligence will not suffice.” Id.


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34.   Plaintiff has also not satisfied the “high standard” of culpability required

to establish deliberate indifference of the City’s policymaker. See Liggins, 52

F.4th at 955. There is no evidence the City’s policymaker deliberately ignored

a known or obvious risk a 20-year veteran police officer would likely shoot

Aviles without justification to do so. Instead, the evidence proves no reasonable

jury, or governmental policymaker, could interpret the Schenk recording to

show that Officer Saldivar was unjustified in shooting Schenk. Without

crediting the Schenk recording, there is no information a governmental

policymaker could reasonably rely on to conclude Officer Saldivar posed a risk

of using unconstitutional force.

35.   Chief Bruegger and Expert Price provided additional testimony which

establishes the City’s policymaker was not deliberately indifferent. The City’s

policymaker could reasonably rely on the adequacy of training provided

through TCOLE that complied with Texas standards to be sufficient to prepare

Officer Saldivar to perform police duties. The City’s policymaker could

reasonably rely on TCOLE and civil service supervisory standards to be

sufficient to provide Constitutionally sound supervision to Officer Saldivar,

particularly when the City provided even more supervision through officer

evaluations and even more TCOLE training to Officer Saldivar than the State

of Texas required of any peace officer in Texas.



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36.   Also, the City’s policymaker could reasonably rely on the comprehensive

investigations performed of all officer shootings, including those involving

Officer Saldivar, as satisfying Constitutional standards. Those investigations

informed the City’s policymaker that Pasadena officers seldom used excessive

force, but when a few officers had, those officers were subjected to removal from

City employment and in a few instances prosecution on criminal charges.

37.   The City’s policymaker could further rely on the adequacy of the facially

Constitutional written Pasadena police department policies prohibiting

officers from using excessive force. And possibly most importantly, a

governmental City policymaker could reasonably rely on the adequacy of

federal and state criminal laws that subject any officer who uses excessive force

to prosecution and confinement through a criminal justice process through

Harris County officials and Grand Juries the City’s policymaker has no reliable

means of controlling. [Ex. 1, ¶¶ 38, 44, 47-50; 18, ¶¶ 103-107].

38.   Moreover, the Fifth Circuit has “stressed that a single incident is usually

insufficient to demonstrate deliberate indifference.” Liggins, 52 F.4th 953, 956

(5th Cir. 2022) (quoting Estate of Davis v. City of North Richland Hills, 406

F.3d 375, 382 (5th Cir. 2005)). Plaintiff “must demonstrate ‘at least a pattern

of similar incidents in which the citizens were injured to establish the official

policy requisite to municipal liability under section 1983.’” Snyder, 142 F.3d at

798-99 (quoting Rodriguez v. Avita, 871 F.2d 552, 554-55 (5th Cir. 1989));

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Burge v. St. Tammany Parish, 336 F.3d 363, 370 (5th Cir. 2003). “After all,

repetition may be the only thing that puts a policymaker on ‘sufficient notice’

that a constitutional violation may spring from their single decision.” Liggins,

52 F.4th at 956 (quoting Brown, 219 F.3d at 460).

39.   In Henderson v. Harris Cnty, the Fifth Circuit affirmed dismissal of

claims for being tazed while resisting arrest. Henderson, 51 F.4th at 129.

Plaintiffs alleged the Harris County failed “to adopt any policies whatsoever to

govern Deputy Garduno’s use of force,” “failed to train Deputy Garduno in the

proper use of a [t]aser,” and “failed to supervise Deputy Garduno.” Id. at 129.

The Circuit Court agreed plaintiffs’ claims relied on failure to formulate an

adequate policy on taser usage, treated the supervisory liability claim as

encompassed in plaintiffs’ other claims, and reviewed only plaintiffs’ failure to

train claim. Id. at 130 n.3. Unable to show any patterns of similar

constitutional violations, plaintiffs argued their claims fall within the single-

incident exception. Id. at 131. The panel rejected the argument and held

plaintiffs failed to allege any failure to train constituted deliberate

indifference. Henderson is instructive in showing that some training is fatal to

proving deliberate indifference, which usually requires a similar pattern of

constitutional violations, under a single incident exception claim. Henderson,

51 F.4th at 131-32.



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      F.    There is no evidence the City’s was a moving force that
            directly caused a deprivation of Aviles’ rights.

40.   Officer Saldivar could not have reasonably believed the City could

authorize Saldivar to use unlawful excessive force, knowing that every police

shooting is investigated by criminal investigators from the Pasadena police

department, in conjunction with investigators and assistant district attorneys

employed by the Harris County District Attorney’s Office, and Texas Grand

Juries. See Liggins, 52 F.4th at 955-57; James v. Harris County, 577 F.3d 612,

618-19 (5th Cir. 2009).

41.   The City has no control over the machinery of the State of Texas or

Harris County regarding criminal prosecutions. Moreover, two of the

Detectives who investigated the Schenk shooting reported to prosecutorial

authorities their suspicions that Officer Saldivar had used excessive force.

With the knowledge that Pasadena Detectives expressed opinions Officer

Saldivar had used excessive force in the Schenk shooting, and that the

Pasadena police department had assigned Detectives who would reach such

opinions to investigate the legality of Officer Saldivar’s Schenk shooting,

Officer Saldivar could not have reasonably relied on any City custom, practice,

or lack thereof to protect him if he shot another person without legal

justification. There is no evidence the City’s custom or lack thereof was moving

force that directly caused Officer Saldivar to use excessive force against Aviles.


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II.   There is no evidence the City has a governmental custom or
      practice of protecting officers who use excessive force.

      A.    The activities Plaintiff’s allegation is premised on are not
            nefarious.

42.   The City has no governmental custom of protecting officers involved in

shootings. The City does not provide officers with legal representation at the

scene or in the aftermath of shootings. Officers are members of police

associations and a union which typically provide legal representation to

officers after police shootings. The City cannot deny officers access to legal

counsel provided through such labor organizations.

43.   Moreover, because officers who shoot a person are subjected to criminal

investigations, those officers have the same Constitutional rights as every

other person. Officers have a Sixth Amendment right to counsel. Officers also

have the Fifth Amendment right not to make any statement during a criminal

investigation. Included in these rights, is an officer’s absolute right to dictate

conditions upon which the officer is willing to waive Constitutional rights. An

officer, like any other individual subjected to a criminal investigation, has the

right to decide when, if ever, the officer will make any statement. An accused

officer can, likewise, refuse to waive Constitutional rights and participate in

any interview, including a walk-through interview, if investigators record the

officer’s statements.




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44.   Criminal investigators are only able to obtain information from an officer

involved in a shooting if the officer provides information. So, competent

detectives investigating any crime, including a police shooting, will prudently

yield to terms a criminal suspect or his attorney require as a condition for the

suspect’s participation in the investigation. Detectives are performing

investigations in competently, not nefariously. [Ex. 1, ¶¶ 5-7].

      B.    The City cannot protect officers who use excessive force.

45.   Furthermore, the City lacks any ability to protect officers who use

excessive force. The summary judgment record does not reveal a municipality

that refuses to investigate shootings by its officers, or a locale that prevents

outside law enforcement authorities from investigating that city’s shootings,

or even a town that performs only cursory investigations of police shootings.

46.   To the contrary, City of Pasadena Detectives perform comprehensive

investigations of every police shooting, the Pasadena police chief personally

reviews recordings of every police shooting, Pasadena Detectives work in

concert with Harris County prosecutorial and investigative authorities on

police shootings, and assistant district attorneys present the Pasadena

shootings to Harris County Grand juries that decide whether an involved

officer will be prosecuted and potentially incarcerated if the officer uses

excessive force.



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47.   The   Detectives    who    performed   the   Schenk    shooting    criminal

investigation and the internal affairs investigator who performed the

administrative investigation challenged Officer Saldivar’s report of the events.

48.   The   Detectives     who   performed   the   Aviles   shooting    produced

investigative results that resulted in Officer Saldivar being indicted by a

Grand Jury and subjected to a criminal prosecution, as well as leading Officer

Saldivar to retire from the Pasadena police department when he did.

49.   The record further evidences that Pasadena officers other than Officer

Saldivar have been subjected to criminal prosecution and removal from service

in the City’s police department based on investigations Pasadena Detectives

and internal affairs personnel have performed. [Ex. 1, ¶¶ 47-50; 18, ¶ 59]. This

evidence does not support the allegation the City has, or even could have, a

governmental custom or practice of protecting officers who use excessive force.

See Piotrowski, 237 F.3d at 579.

50.   Certainly, the record is barren of evidence of such a governmental

custom. “In the 42 U.S.C.S. § 1983 context, a pattern is tantamount to official

policy when it is so common and well-settled as to constitute a custom that

fairly represents municipal policy.” Piotrowski 237 F.3d at 579. Where prior

incidents are used to prove a pattern, “they must have occurred for so long or

so frequently that the course of conduct warrants the attribution to the

governing body of knowledge that the objectionable conduct is the expected,

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accepted practice of city employees.” Webster v. Houston, 735 F.2d 838, 842 (5th

Cir. 1984). “It is thus clear that a plaintiff must demonstrate a pattern of

abuses that transcends the error made in a single case.” Peterson v. City of Fort

Worth, 588 F.3d 838, 842 (5th Cir. 2009) (internal citations omitted). “A pattern

requires similarity and specificity; “[p]rior indications cannot simply be for any

and all “bad” or unwise acts, but rather must point to the specific violation in

question.” Peterson , 588 F.3d at 842 (quoting Estate of Davis, 406 F.3d at 383).

“A pattern also requires sufficiently numerous prior incidents, as opposed to

"isolated instances.”” Peterson , 588 F.3d at 842 (internal citations omitted).

51.   There is no evidence any investigator has sought to protect an officer who

has used excessive force, much less that such activities have occurred at

sufficient numerosity to be a City custom.

                        CONCLUSION AND PRAYER

52.   For these reasons, the City of Pasadena, Texas, moves the Court to grant

the City’s motion for summary judgment, dismiss all claims asserted against

the City and enter judgment in favor of the City.

                                     Respectfully submitted,
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                       CERTIFICATE OF WORD COUNT

      I hereby certify this motion contains 4,983 words based upon the word-

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contents, table of authorities, signature block or certificates.

                                             /s/ Norman Ray Giles

                         CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been

forwarded to the following counsel of record in accordance with the District’s

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